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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al. ,

                Plaintiffs,

        v.                             Civil Action No. 1:18-cv-06471-ER

UNTED STATES
DEPARTMENT OF JUSTICE, et al. ,

                Defendants,



CITY OF NEW YORK,

                Plaintiff,

        v.                             Civil Action No. 1:18-cv-06474-ER

WILLIAM P. BARR, et al. ,

                Defendants,




        DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO
        PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
       AND IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS, OR
      ALTERNATIVELY, MOTION FOR PARTIAL SUMMARY JUDGMENT
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Carl Campanile and Emily Saul, Illegal immigrant charged with biting off ICE officer’s fingertip, NEW YORK
       POST (Mar. 15, 2019), https://nypost.com/2019/03/15/illegal-immigrant-charged-with-
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                                                     INTRODUCTION

         Law enforcement in this country is a cooperative endeavor. Unlawful acts often implicate

the jurisdiction of more than one agency, and local, state, tribal, and federal officials must work

together in a variety of ways to fight crime and ensure public safety. In order to work together

effectively and safely, the free flow of law enforcement information is essential. Each law

enforcement agency possesses different information and different tools for collecting intelligence.

When agencies operate in isolation, no agency has the complete picture, and the implications for

public safety can be dire. Further, when agencies conduct law enforcement operations, they must

“de-conflict” to protect officer safety and ensure that other agencies do not inadvertently jeopardize

their operations. See, e.g., Nationwide Officer Safety Event Deconfliction, National Criminal

Intelligence Resource Center, https://www.ncirc.gov/Deconfliction/ (last visited Apr. 7, 2019);

Best Practices in Event Deconfliction, Commission on Accreditation for Law Enforcement

Agencies, https://www.calea.org/sites/default/files/EventDeconfliction_PoliceFoundation.pdf

(last visited Apr. 7, 2019). Obviously, information-sharing diminishes if agencies fear that

recalcitrant jurisdictions will publicly release information shared through these channels for purposes

of subverting the law.

         In this case, Plaintiffs challenge certain requirements in the Fiscal Year (“FY”) 2018 Edward

Byrne Memorial Justice Assistance Grant Program (“Byrne JAG Program”), including a requirement

that protects against the public disclosure of sensitive federal law enforcement information by grant

recipients. 1 In Amended Complaints, the Plaintiffs challenge these requirements under Separation



         1
          Two different cases have been related together in this action, as they have overlapping
issues. When necessary, Case No. 1:18-cv-06471-ER with plaintiffs led by the State of New York
will be referred to as the “States Case,” and Case No. 1:18-cv-06474-ER with the single plaintiff of

                                                                    —1—
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of Powers principals, the Spending Clause, and the Administrative Procedure Act. Plaintiffs’

challenges to these common sense requirements must fail. There is nothing improper in requiring

that a grant recipient that accepts federal funds designed to enhance law enforcement not actively

thwart federal law enforcement priorities.

         This Court has previously considered certain conditions on the Byrne JAG grant program

that were also included in the 2017 fiscal year (specifically, the Access and Notice conditions, and

the Section 1373 compliance condition ), as well as the constitutionality of 8 U.S.C. § 1373. See New

York v. Dep’t of Justice, 343 F. Supp. 3d 213 (S. D. N. Y. 2018). Defendants respectfully disagree with

the Court’s rulings, and hereby reiterates, incorporates, and preserves for further review the

arguments made therein, including their arguments regarding the constitutionality of Section 1373,

which apply equally to 8 U.S.C. § 1644. 2

         Defendants respectfully urge the Court to revisit its prior ruling for reasons summarized

below. There are real world consequences to Plaintiffs’ failure to provide notice of release dates of

criminal illegal aliens for whom ICE detainers have been served, to provide access to prisons to

interview inmates for whom detainers have been served, and to share information mandated by

Section 1373. This breakdown in cooperation endangers ICE agents, who must now undertake

enforcement actions outside the controlled confines of a prison. See Decl. of Francisco Madrigal,

U.S. Immigration and Customs Enforcement, States Case ECF No. 90, ¶ 13 (contrasting situations

in which ICE officers are able to take qualifying criminal aliens into federal custody in “controlled,




the City of New York will be referred to as the “City Case.” For convenience, when referring to
documents previously filed in this case, the citation to the States Case will be given unless context
requires otherwise.
         2
             See States Case, Dkt. Nos. 89, 99; City Case, Dkt. Nos. 51, 62.

                                                                    —2—
   D E F E N D A N T S ’ O P P O S IT IO N T O P L A IN T I F F S ’ M O T IO N F O R P AR T I A L S U M M AR Y J U D GM E N T , A N D
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law enforcement setting, where they have been searched for weapons and contraband” with “at-

large in the community,” in which “other people may be present, the surroundings are not secure,

and individuals may be armed or ready to flee”). Just last month, an ICE agent was injured

apprehending a suspect in the Bronx who had been released from custody despite an ICE detainer, 3

amongst many other examples of lack of cooperation endangering ICE agents and communities. 4

             Plaintiffs also challenge new Byrne JAG conditions not previously considered by this

Court. Even if the Court is inclined to maintain its earlier rulings regarding the Access and Notice

conditions and the Section 1373 compliance conditions, it should rule in Defendants’ favor on the

new conditions. Pursuant to the first of these conditions, beginning in FY 2018, the Office of

Justice Programs (“OJP” or “Office”) is requiring that Byrne JAG recipients not publicly disclose

federal law enforcement information for the purpose of frustrating law enforcement operations.

That the Department of Justice (“Department” or “DOJ”) would include such a requirement as a

condition on federal law enforcement funds should be unsurprising. When Congress created OJP,

which is the Department’s primary grant-making component, it made a specific finding that “law

enforcement efforts must be better coordinated, intensified, and made more effective at all levels of

government.” Pub. L. No. 90-351, 82 Stat. 197 (1968).

         Consistent with that congressional finding, the purpose of this Byrne JAG condition is

obvious: If law enforcement partners at various levels of government are going to work together to

address public safety, they must be free to share information without fear that the information will




         3
          Carl Campanile and Emily Saul, Illegal immigrant charged with biting off ICE officer’s fingertip,
NEW YORK POST (Mar. 15, 2019), https://nypost.com/2019/03/15/illegal-immigrant-charged-
with-biting-off-ice-officers-fingertip/

         ICE arrests more than 20 released in New York after detainers ignored (Mar. 5, 2019),
         4

https://www.ice.gov/news/releases/ice-arrests-more-20-released-new-york-after-detainers-ignored
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   D E F E N D A N T S ’ O P P O S IT IO N T O P L A IN T I F F S ’ M O T IO N F O R P AR T I A L S U M M AR Y J U D GM E N T , A N D
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be misappropriated and misused. That Plaintiffs are now seeking to vindicate a contrary position is

remarkable, as OJP’s authority to include this condition is clear: The Office is authorized to

“maintain liaison with . . . State [and local] governments in matters relating to criminal justice.”

34 U.S.C. § 10102(a)(2), (4). When federal authorities liaise with State and local authorities, it is

natural for federal authorities to insist on the protection of sensitive law enforcement information

which, if publicly released, could endanger federal law enforcement and personnel. The need for

this condition is even clearer given that an elected local official in another State recently made public

an impending federal law enforcement operation, intentionally frustrating the enforcement of federal

law and putting officers’ lives at risk. Moreover, this condition applies to federal law enforcement

information regarding both illegal aliens and “fugitive[s] from justice” under the federal criminal

laws, further illustrating the condition’s relationship to the purposes of the Byrne JAG Program.

         Defendants further demonstrate below that Plaintiffs lack standing to challenge another

condition not previously addressed by the Court, viz., that an applicant for an FY 2018 Byrne JAG

grant submit certifications stating that the jurisdiction has no laws or policies that impede the

exercise of federal authority under certain statutes. The Department of Justice has not chosen to

enforce this condition against any specific person in this case, and Plaintiffs accordingly cannot

satisfy the injury-in-fact requirement for Article III standing.

         For these reasons, Plaintiffs’ claims (other than those covered by the Court’s ruling in this

matter of November 30, 2018 (see States Case, Dkt. No. 114; City Case, Dkt. No. 81) should be

dismissed with prejudice.




                                                                    —4—
   D E F E N D A N T S ’ O P P O S IT IO N T O P L A IN T I F F S ’ M O T IO N F O R P AR T I A L S U M M AR Y J U D GM E N T , A N D
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                       STATUTORY AND ADMINISTRATIVE BACKGROUND

         I.         The Immigration and Nationality Act.

         Enforcement of the immigration laws, including and especially the investigation and

apprehension of criminal aliens, is quintessentially a law enforcement function. Through the

Immigration and Nationality Act (“INA”), 8 U.S.C. §§ 1101 et seq., Congress granted the Executive

Branch significant authority to control the entry, movement, and other conduct of foreign nationals in

the United States. These responsibilities are assigned to law enforcement agencies, as the INA

authorizes the Department of Homeland Security (“DHS”), the Department of Justice, and other

Executive agencies to administer and enforce the immigration laws. The INA gives the Executive

Branch considerable authority and discretion to conduct and direct immigration enforcement pursuant

to federal policy objectives. See Arizona v. United States, 567 U.S. 387, 396-97 (2012).

         Several outcomes and federal agency responsibilities under the INA turn on the existence and

timing of local or state criminal proceedings against aliens. For example, the INA provides that aliens

who have committed certain classes of crimes – whether federal, state, or local – “shall” be removed

from the United States upon order of the Attorney General or the Secretary of Homeland Security.

See, e.g., 8 U.S.C. § 1227(a). A specific statute provides that every twelve months, the Attorney General

must report to the House and Senate judiciary committees on “the number of illegal aliens convicted

of felonies in any Federal or State court [during the preceding year]” and “the number of illegal aliens

incarcerated in Federal and State prisons for having committed felonies” – “stating the number

incarcerated for each type of offense.” Id. § 1366(1), (2). As the Supreme Court recognized, the

mandatory detention provision of the INA “sprang from a ‘concer[n] that deportable criminal aliens

who are not detained continue to engage in crime and fail to appear for their removal hearings in large

numbers.’” Nielsen v. Preap, 139 S. Ct. 954, 960 (2019) (quoting Demore v. Kim, 538 U.S. 510, 513 (2003)).


                                                                    —5—
   D E F E N D A N T S ’ O P P O S IT IO N T O P L A IN T I F F S ’ M O T IO N F O R P AR T I A L S U M M AR Y J U D GM E N T , A N D
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         The connection between immigration law and criminal law is also reflected in the fact that the

INA contains a number of criminal provisions related to immigration. For example, the statute

imposes criminal penalties on an alien for failing to register with federal authorities and for failing to

notify federal authorities of a change of address. 8 U.S.C. §§ 1306(a), (b). More seriously, the INA

imposes criminal penalties on any person who conceals, harbors, or shields an alien from detention “in

any place, including any building or any means of transportation,” “knowing or in reckless disregard of

the fact that an alien has come to, entered, or remains in the United States in violation of law.” 5 Id.

§ 1324(a)(1)(A)(iii). It also imposes penalties for “engag[ing] in any conspiracy to commit any of the

preceding acts” and for “aid[ing] or abet[ting] the commission of any of [those] acts.” Id. §

1324(a)(1)(A)(v).

          The INA repeatedly contemplates coordination between federal officials and state and local

officials on immigration enforcement. For example, state and local officers are authorized to make

arrests for violation of the INA’s prohibitions against smuggling, transporting, or harboring aliens, id.

§ 1324(c), and to arrest certain felons who have unlawfully returned to the United States, id. § 1252c;

see id. § 1357(g) (authorizing formal cooperative agreements under which trained and qualified state

and local officers may perform specified functions of a federal immigration officer in relation to the

investigation, apprehension, or detention of aliens). Consistent with this coordination and with the

importance of state and local criminal proceedings under the INA, certain provisions of federal

immigration law protect the transfer of information regarding aliens between and among federal

officials and state and local government entities. Section 1373 of Title 8 provides that “a Federal,

State, or local government entity or official may not prohibit, or in any way restrict, any government




         “Person” for purposes of that crime means “an individual or an organization.” 8 U.S.C. §
         5

1101(b)(3).
                                                                    —6—
   D E F E N D A N T S ’ O P P O S IT IO N T O P L A IN T I F F S ’ M O T IO N F O R P AR T I A L S U M M AR Y J U D GM E N T , A N D
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entity or official from sending to, or receiving from [federal immigration authorities] information

regarding the citizenship or immigration status, lawful or unlawful, of any individual.” Section 1644 of

Title 8 contains substantially the same proscription. Section 1373 also states that no person or agency

may prohibit or restrict a federal, state, or local government entity from “[m]aintaining such

information” or from “[e]xchanging such information with any other Federal, State, or local

government entity.” By the same token, the INA requires federal immigration authorities to

“cooperate with the States” to ensure that state and local officials have information to assist them in

making arrests under the INA. Id. § 1252c(b).

         II.        DOJ’s Office of Justice Programs and the Byrne JAG Program.

         As described in prior filings before this Court, the Assistant Attorney General (“AAG”) for

OJP possesses “[s]pecific, general and delegated powers,” including the power to “maintain liaison

with . . . State [and local] governments in matters relating to criminal justice.” 34 U.S.C. § 10102(a)(2),

(4). The statute also authorizes the AAG to “exercise such other powers and functions as may be

vested in [him] pursuant to this chapter or by delegation of the Attorney General, including placing

special conditions on all grants, and determining priority purposes for formula grants.” Id.

§ 10102(a)(6). As will be discussed in detail below, Congress added the phrase conferring this general

authority to impose special conditions and priority purposes in the Violence Against Women and

Department of Justice Reauthorization Act of 2005, the same law that created the current version of

the Byrne JAG Program. Pub. L. No. 109-162, §§ 1111, 1152(b), 119 Stat. 2960, 3094, 3113 (2006).

         The predecessor to the Byrne JAG Program was created in the same statute that created OJP.

Under this program, OJP is authorized to “make grants to States and units of local government . . . to

provide additional personnel, equipment . . . and information systems for criminal justice, including

for any one or more of [certain enumerated] programs.” Id. § 10152(a)(1). In the same chapter,


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“criminal justice” is defined broadly to include various activities of the police, the courts, and “related

agencies.” Id. § 10251(a)(1).

         The Byrne JAG Program provides that the “Attorney General may . . . make grants to States

and units of local government” for law enforcement and related purposes. 34 U.S.C. § 10152(a)(1).

The program provides “formula grants” – that is, grants that, when awarded are calculated using a

statutory formula based on population, the rate of violent crime, and other factors. Id. § 10156. By

statute, in order to request a Byrne JAG grant, the chief executive officer of a State or unit of local

government must submit an application “in such form as the Attorney General may require,” id.

§ 10153(a), and the application must include, among other things, “[a] certification, made in a form

acceptable to the Attorney General . . . that . . . the applicant will comply with . . . all . . . applicable

Federal laws,” and agree to undertake various activities to advance law-enforcement goals. Id.

§ 10153(a)(5)(D). For example, Applicants must provide assurances that they will “maintain and

report such data, records, and information (programmatic and financial) as the Attorney General may

reasonably require,” and that “there has been appropriate coordination with affected agencies.” Id.

§ 10153(a)(4), (5)(C).

         The Byrne JAG Program is also subject to the general authority of the AAG. Although the

dollar amount of Byrne JAG grants are calculated using a formula, the AAG may still impose special

conditions that grant recipients must meet in order to access allocated funds. Id. § 10102(a)(6). As

particularly relevant here, the statute provides that he may “exercise such other powers and functions

as may be vested in [him] pursuant to [Chapter 101 of Title 34, which includes the Byrne JAG

Program] or by delegation of the Attorney General, including placing special conditions on all grants,

and determining priority purposes for formula grants.” 34 U.S.C. § 10102(a)(6) (emphases added).

         Indeed, OJP has historically included numerous special conditions in Byrne JAG awards. For

example, the Office has imposed, without objection, conditions related to information-sharing and
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privacy protection, see State Case, Dkt. No. 91, Ex. A (New York City’s FY 2016 Byrne JAG award)

¶ 30, research using human subjects, see id. ¶ 29, and training, see id. ¶¶ 32-33; Dkt. No. 91, Ex. B (New

York State’s FY 2016 Byrne JAG award), ¶¶ 29, 30, 33 (same conditions applied to state jurisdictions).

Still additional conditions are intended to address a wide variety of goals, ranging from combating

human trafficking (see States Case, Dkt. No. 133, Ex. 53, ¶ 12 (New York State’s FY 18 Byrne JAG

Award letter setting forth Special Conditions)), to requiring state compliance with DOJ’s civil rights

and nondiscrimination regulations (id. at ¶¶ 18-20), to requiring an environmental impact analysis in

compliance with the National Environmental Policy Act under certain circumstances (id. at ¶ 50), and

to encouraging recipients to ban their employees from texting while driving (id. at ¶ 26). Other

historical conditions imposed by the Assistant Attorney General have been inspired by Executive

Branch prerogatives, and in some instances resulted in subsequent congressional codification. One such

condition, which prohibited use of Byrne JAG funds to purchase military style equipment, related in

part to an Executive Order issued by President Obama in 2015. See State Case, Dkt. No. 91, Ex. A

¶ 49 (New York City’s FY 2016 Byrne JAG award); Exec. Order No. 13,688, 80 Fed. Reg. 3451 (Jan.

16, 2015), rescinded by Exec. Order No. 13,809, 82 Fed. Reg. 41,499 (Aug. 28, 2017). Since 2012, other

conditions have required that recipients: (a) comply with specific national standards when purchasing

body armor and (b) institute a “mandatory wear” policy for any purchased armor. State Case, Dkt.

No. 91, Ex. A ¶¶ 38-39 (New York City’s FY 2016 Byrne JAG award). While those conditions have

now been codified by Congress, see 34 U.S.C. § 10202(c)(1)(B), (C), they originated as exercises of

DOJ’s authority to impose special conditions. And the AAG has imposed an “American-made”

requirement for body armor purchases, something Congress did not choose to codify. Id. at Ex. A,

¶ 38. In recent years, the number of conditions attached to Byrne JAG Grants has typically numbered

over 50. See id. at Ex. A (New York City’s FY 2016 award, containing 52 conditions); States Case, Dkt.

No. 133, Ex. 53 (New York State’s FY 2018 award, containing 67 conditions). The conditions
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attached to Byrne JAG grants have varied over time, depending on national law enforcement

necessities and Department priorities.

           For the current Byrne JAG grant cycle, Fiscal Year 2018, OJP notified potential applicants that

awards under the Program would include certain conditions requiring modest cooperation with federal

law enforcement responsibilities in the immigration setting. The Plaintiffs now challenge three of

these new conditions. As issued to most of the 2018 applicants, those conditions require Byrne JAG

recipients, within the “program or activity” funded by the award to observe the following new

conditions: 6

      •    Consistent with the objectives of federal law enforcement statutes – including 8 U.S.C.

           § 1324(a), the smuggling/harboring statute referred to above, and 18 U.S.C. § 1071 – not to

           publicly disclose any sensitive federal law enforcement information in an attempt to harbor or

           shield from detection either a “fugitive from justice” under the federal criminal laws or an alien

           who “has come to, entered, or remains in the United States” in violation of federal

           immigration law, regardless of whether the disclosure would violate 8 U.S.C. § 1324(a) (the

           “public-disclosure condition”), States Case, Dkt. No. 133, Ex. 53, Special Condition ¶ 44 (New

           York State’s FY 2018 Byrne JAG award).

      •    To collect information from the recipient of a subaward regarding any policies about

           communication or cooperation with the Department of Homeland Security (DHS) or the

           Immigration and Customs Enforcement (ICE) (the “information collection condition”), id. at

           Ex. 53, Special Condition ¶ 47 (New York State’s FY 2018 Byrne JAG award).

      •    In order to assess each applicant’s ability to fulfill the FY 2018 Access and Notice conditions,

           the FY 2018 Byrne JAG solicitation stated that OJP would require each applicant to submit


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    These three conditions will be collectively referred to as the “FY 18 Conditions” in this brief.
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         certifications from its chief legal officer and chief executive stating that the jurisdiction had no

         laws or policies that impede the Federal Government’s exercise of its authority under the

         statutes cited in those conditions (the “FY 2018 certification requirement”). See Administrative

         Record (“AR”) at AR01193, AR01207, AR01211 (2018 Local Solicitation at 1, 41, 45). 7 The

         certifications were part of the application, and were due no later than when the applicant

         accepted an award. Id. at AR01193 (2018 Local Solicitation at 27).

         III.                 Defendants’ Reservation of Arguments.

         As noted above, Defendants recognize that this Court has ruled against conditions used in the

FY 2017 Byrne JAG Program that are similar to the FY 2018 Notice, Access, and Section 1373

conditions. Defendants also recognize that the Court’s injunction regarding these conditions apply to

future grant years. Defendants respectfully disagree with these rulings and ask the Court to approve

the FY 18 version of those conditions, but do not now repeat in full their arguments in defense of the

Notice, Access, and Section 1373 conditions in the FY 2018 Byrne JAG Program, other than to

incorporate herein their arguments made previously and to preserve them for appellate review. See

State Case, Dkt. Nos. 89, 99 (Defendants’ Memorandum in Opposition to Plaintiffs’ Motion for

Summary Judgment and in Support of their Motion to Dismiss or in the alternative, Motion for

Summary Judgment regarding FY 17 conditions and Reply); City Case, Dkt. Nos. 51, 62 (same). The

Defendants have appealed to the U.S. Court of Appeals for the Second Circuit regarding this Court’s

November 30, 2018 ruling on the FY 2017 conditions. See Dep’t of Justice v. New York, Case No. 19-267

(2d Cir.).




           The Administrative Record supporting the FY 18 Conditions consists of 1,867 pages and
             7

was filed by the Plaintiffs as a series of exhibits to the Declaration of Nancy M. Trasande. See States
Case, Dkt. No. 133, Exs. 61-79. Duplicate copies of the AR was also filed in the City Case. See City
Case, Dkt. No. 102, Exs. 61-79.
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         Additionally, New York City now challenges Section 1644 using arguments substantially

similar to those advanced against Section 1373 in prior briefing. See Pls.’ Memo., at 26-27. Defendants

will not repeat at length their arguments regarding the constitutionality of Section 1373, which apply

equally to Section 1644, and instead, incorporate them by reference to preserve them for appellate

review. See State Case, Dkt. No. 99 at 34-45 (Defendants’ Memorandum in Opposition to Plaintiffs’

Motion for Summary Judgment and in Support of their Motion to Dismiss or in the alternative,

Motion for Summary Judgment regarding FY 17 conditions); City Case, Dkt. No. 51 at 34-45 (same).

         Defendants reserve their right to defend the FY 2018 Byrne JAG conditions based on the

outcome of Dep’t of Justice v. New York, Case No. 19-267 (2d Cir.), and other cases.



                                                         ARGUMENT

    I.        Plaintiffs lack standing to challenge the FY 2018 Certification Requirement.

         Under Article III of the Constitution, the jurisdiction of the federal courts extends only to

“Cases” and “Controversies.” U.S. Const. art. III, § 2, cl. 1. “Article III of the Constitution limits

federal courts’ authority—that is, our subject matter jurisdiction—to disputes involving ‘live cases

and controversies.’” County of Suffolk, N.Y. v. Sebelius, 605 F.3d 135, 140 (2d Cir. 2010) (quoting

United States v. Quattrone, 402 F.3d 304, 308 (2d Cir. 2005)).

         Two principles of justiciability are involved here: standing and ripeness. “Standing and

ripeness are closely related doctrines that overlap most notably in the shared requirement that the

plaintiff's injury be imminent rather than conjectural or hypothetical.” Ross v. Bank of Am., N.A.

(USA), 524 F.3d 217, 226 (2d Cir. 2008) (quotation marks and alterations omitted). “‘[S]tanding

doctrine evaluates a litigant’s personal stake as of the outset of litigation.’” Klein v. Qlik Tech., Inc.,

906 F.3d 215, 221 (2d Cir. 2018) (quoting Altman v. Bedford Cent. Sch. Dist., 245 F.3d 49, 70 (2d Cir.

2001)). Meanwhile, “[t]o be justiciable, a cause of action must be ripe—it must present a real,
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substantial controversy, not a mere hypothetical question. Ripeness is peculiarly a question of

timing.” Nat’l Org. for Marriage, Inc. v. Walsh, 714 F.3d 682, 687 (2d Cir. 2013) (internal quotation

marks and citations omitted). Where a plaintiff lacks standing or its claims are non-justiciable, the

court lacks jurisdiction. See Sikhs for Justice Inc. v. Kerry, 663 Fed. Appx. 54, 56 (2d Cir. 2016).

         Both the State and City Plaintiffs challenge the certification requirements imposed under the

FY 18 Conditions. See State Case, Am. Compl., ¶ 104; City Case, Am. Compl., ¶¶ 48-50. See also

Pls.’ Memo, at 11-12 (challenging he “Certification of Compliance” condition). To satisfy the

“irreducible constitutional minimum” of standing, a plaintiff must demonstrate an “injury in fact,” a

“fairly traceable” causal connection between the injury and defendant’s conduct, and redressability.

Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 102-03 (1998). The injury needed for constitutional

standing must be “concrete,” “objective,” and “palpable,” not merely “abstract” or “subjective.” See

Whitmore v. Arkansas, 495 U.S. 149, 155 (1990); Bigelow v. Virginia, 421 U.S. 809, 816-17 (1975).

Additionally, the injury must be “certainly impending” rather than “speculative.” Whitmore, 495 U.S.

at 157, 158. “[S]tanding is perhaps the most important of [the jurisdictional] doctrines.” FW/PBS,

Inc. v. City of Dallas, 493 U.S. 215, 231 (1990) (internal quotation marks omitted).

          Applying these standards here, the Plaintiffs cannot show any “injury in fact” from the FY

2018 certification requirement. DOJ has not sought to enforce the certifications against any specific

person in this case. No case has been brought by the United States allegeing a violation of this

certification, and until that actually happens, such a development is “speculative” rather than

“certainly impending.” Whitmore, 495 U.S. at 157, 158. 8




         In any event, the FY 2018 certification requirement is permissible on its merits for the
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reasons Defendants have stated in relation to the Access, Notice, and Section 1373 compliance
conditions, which are incorporated herein by reference. See State Case, Dkt. No. 89, at 12-50; City
Case, Dkt. No. 51, at 12-50.
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    II.       The FY 18 Conditions are authorized by statute and do not violate the Separation
              of Powers.

              A. The FY 18 Conditions are authorized by statute.

          The Byrne JAG Program provides that the “Attorney General may . . . make grants to States

and units of local government” for law enforcement and related purposes. 34 U.S.C. § 10152(a)(1).

Yet, Plaintiffs allege that the three Byrne JAG conditions described above exceed DOJ’s statutory

authority and intrude upon the powers of Congress. See State Case, Am. Compl. ¶¶ 4, 88-97, 104,

106, 151-173; City Case, Am. Compl., ¶¶ 6, 45-53, 99, 101, 149-172. See also Pls. Memo., at 15-21.

Nevertheless, an examination of the relevant statutes, with their framework and history, shows that

the Assistant Attorney General for OJP possesses ample authority to impose the FY 18 Conditions

discussed above, including requiring award recipients not to disclose sensitive federal law

enforcement information in an attempt to harbor or shield an alien or fugitive from detection.

          As previously noted, Congress amended the relevant statutes to authorize the AAG to place

“special conditions on all grants,” and to determine “priority purposes for formula grants” 34 U.S.C.

§ 10102(a)(6). As mentioned above, the phrase conferring this general authority to impose special

conditions and priority purposes was added by Congress in 2006. Pub. L. No. 109-162, §§ 1111,

1152(b), 119 Stat. 2960, 3094, 3113 (2006).

          This amendment is significant. Plaintiffs attempt to turn this amendment into a dead letter

by arguing that is “not a stand-alone grant of authority to the Assistant Attorney General to attach

any conditions to the grants,” and that “such authority must come from elsewhere in the chapter or

have been delegated by the Attorney General, who may only delegate it to the extent that he has

such power himself.” Pls.’ Memo, at 19 (internal quotation marks and citations omitted).

          The problem here is that Plaintiffs never coherently explain what the amendment of “special

conditions” and “priority purposes” means. Effectively, their reading deprives the amendment of

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any meaning. But this runs against long-standing statutory interpretation principles that “no clause,

sentence, or word shall be [rendered] superfluous, void, or insignificant.” TRW Inc. v. Andrews, 534

U.S. 19, 31 (2001). See also Bell v. Reno, 218 F.3d 86, 91 (2d Cir. 2000) (discussing the “well-known

canon of statutory construction that, in general, a statute should not be construed so as to render a

word or clause inoperative”). That principle has particular force here because Congress expressly

added the “special conditions” and “priority purposes” authority in 2006, which would have been

entirely unnecessary if it merely referred to pre-existing authority conferred by Congress. After all,

another law already authorized the Attorney General to delegate the performance of his functions.

See 28 U.S.C. § 510. Confirming the plain text of Section 10102(a)(6), a report accompanying the

enactment of this language stated that the provision “allows the Assistant Attorney General to place

special conditions on all grants and to determine priority purposes for formula grants.” H.R. Rep.

No. 109-233, at 101 (2005). Thus, Plaintiffs’ denial of this authority gives no practical effect to either

the “special condition” or the “priority purpose” power. In other words, Plaintiffs attempt to read

the amendment out of existence. “When Congress acts to amend a statute, [courts] presume it

intends its amendment to have real and substantial effect.” Stone v. INS, 514 U.S. 386, 397 (1995).

Thus, the most natural meaning of “special conditions” and “priority purposes” allows the AAG to

require the challenged conditions in this case.

         Indeed, if the court is to rule against Defendants, doing so will call into question the ability

to impose numerous other conditions tied to Byrne JAG grants, including but not limited to

conditions regarding training and reporting related to the use of force and prevention of bias, IT

interoperability, and compliance with the Department of Justice Global Justice Information Sharing

Initiative.

              B. The FY 18 Conditions do not violate the Separation of Powers.

         As a preliminary matter, Plaintiffs do not dispute that Congress may, consistent with the
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separation of powers, properly delegate to the Executive Branch the authority to attach conditions

on agency spending. See, e.g., Clinton v. City of N.Y., 524 U.S. 417, 488 (1998) (“Congress has

frequently delegated the President the authority to spend, or not to spend, particular sums of

money.”) (Breyer, J. dissenting); DKT Mem’l Fund Ltd., 887 F.2d 275 at 280-81 (upholding conditions

on spending imposed by President where statute authorized President to set certain “terms and

conditions as he may determine”). Accordingly, Plaintiffs’ assertion that Congress itself does not

currently impose immigration enforcement conditions on the receipt of Byrne JAG funds, see Pls.’

Memo., at 18, is wholly beside the point. Rather, the sole relevant question here is whether

Congress has delegated sufficient authority to DOJ to impose these conditions.

         The history of 34 U.S.C. § 10102(a)(6) and the structure of the relevant statutes demonstrate

that Congress has delegated such authority to OJP. Congress created the current version of the

Byrne JAG Program in 2006, when the Reauthorization Act merged two earlier programs. Pub. L.

No. 109-162, 119 Stat. 2960. Before the 2006 amendments, the relevant statute provided only that

the AAG for OJP was authorized to “exercise such other powers and functions as may be vested in

the [AAG] pursuant to this chapter or by delegation of the [AG].” See 42 U.S.C. § 3712(a)(6) (2005).

In the Reauthorization Act, Congress expressly amended this provision by inserting the words

“including placing special conditions on all grants, and determining priority purposes for formula

grants.” Pub. L. No. 109-162, § 1152(b), 119 Stat. at 3113; see 34 U.S.C. § 10102(a)(6). And

confirming this amendment’s plain text, a committee report accompanying the Act states

unequivocally that the amendment would “allow[] the Assistant Attorney General to place special

conditions on all grants and to determine priority purposes for formula grants.” H.R. Rep. No. 109-

233, at 101 (2005).

         Moreover, this authority clearly applies to the Byrne JAG Program. Section 10102(a) sets

forth the general duties and authorities of the AAG for OJP, and the Bureau of Justice Assistance,
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which directly administers the Byrne JAG Program, is part of OJP. By statute, the Director of the

Bureau of Justice Assistance “report[s] to the Attorney General through the Assistant Attorney

General [for OJP].” 34 U.S.C. § 10141(b); see OJP, About Us, https://ojp.gov/about/about.htm

(OJP organizational chart) (last visited Apr. 8, 2019). Thus, the authority conferred on the AAG by

Section 10102(a)(6) necessarily reaches all programs under his supervision, including the Byrne JAG

Program.

         Also, both of the conditions at issue – requiring grant recipients to refrain from disclosing

federal law enforcement information in order to harbor or shield an alien from federal immigration

authorities and to identify laws and policies contrary to federal priorities – are closely related to OJP’s

statutory responsibility to “maintain liaison” among federal, state, and local authorities. 34 U.S.C. §

10102(a)(2). Federal, state, and local law enforcement priorities may differ, and federal authorities

are entitled to know when state and local laws or policies may conflict with federal priorities. An

agency statutorily charged with maintaining that “liaison” is naturally empowered to secure

information regarding state and local laws and policies. And where federal law enforcement officials

do work with state and local officials, federal officials are naturally entitled to insist on the protection

of sensitive federal law enforcement information. In this way, requiring disclosure of such

information is no different than three other long-standing information disclosure obligations under

the current program. JAG Recipients are required to provide certain information to the National

Instant Background Check Systems (NICS) under certain circumstances. See States Case, Dkt. No.

133, Ex. 53, ¶ 40 (New York State’s FY Byrne JAG award letter and Special Conditions). Recipients

are also required to provide an environmental impact analysis under certain circumstances. Id. at Ex.

53, ¶ 50. And finally, recipients are required to upload eligible DNA profiles to a FBI database

under certain circumstances. See id. at Ex. 53, ¶ 59. Yet, the Plaintiffs fail to challenge these three

information-sharing requirements.
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         Further, the independent authority to “determin[e] priority purposes for formula grants”

plainly reflects an intent to allow the AAG to exercise a degree of discretion over formula grants in

particular. Such discretion must, if this language is to be afforded any meaningful legal effect,

encompass at least the minimal authority to (1) articulate broad priorities for a given Fiscal Year’s

grant program; (2) include, on program application forms, inquiries regarding the designated priority

purpose; and (3) protect the confidentiality of related federal law enforcement information. In other

words, the authority to “determine priority purposes” necessarily includes the authority to prioritize

federal grant monies for those state and local jurisdictions that assist in furthering relevant federal

purposes. Additionally, because states and localities would decline to participate in – and thus,

effectively annul – the Byrne JAG Program were this authority invoked to impose unreasonable

conditions, any arguable risk of overreach that might otherwise inhere in this authority has a built-in

structural check.

         That OJP may adopt immigration-related “priority purposes” for Byrne JAG grants is

further shown by Congress’s express incorporation of an optional immigration-related purpose from

one of the predecessor programs. In enacting the current Byrne JAG Program, Congress provided

that the purposes of the program “shall be construed to ensure that a grant . . . may be used for any

purpose for which a grant was authorized to be used under either or both of the programs specified

in section 10151(b) of this title [the Edward Byrne Memorial State and Local Law Enforcement

Assistance Programs and the Local Government Law Enforcement Block Grants program], as those

programs were in effect immediately before January 5, 2006.” 34 U.S.C. § 10152(a)(2). And

assisting federal immigration authorities was clearly among the purposes of the Edward Byrne

Memorial State and Local Law Enforcement Assistance Program, under which each State grantee

was required to establish,


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         [A] plan under which the State will provide without fee to the Immigration and
         Naturalization Service, within 30 days of the date of their conviction, notice of
         conviction of aliens who have been convicted of violating the criminal laws of the
         State . . . .

42 U.S.C. § 3753(a)(11) (in effect before Jan. 5, 2006). Thus, Congress’s express incorporation of

the prior program’s purposes further supports OJP’s authority to include assisting in the

enforcement of immigration law as one of the priority purposes of the current Byrne JAG Program.

              C. The FY 18 Conditions do not violate 34 U.S.C. § 10228(a).

         Plaintiffs argue that the FY 18 Conditions violate 34 U.S.C. § 10228(a), which provides that

nothing in the federal statutes “shall be construed to authorize any department, agency, officer, or

employee of the United States to exercise any direction, supervision, or control over any police force

or any other criminal justice agency of any State or any political subdivision thereof.” See Pls.’

Memo., at 21-24. But nothing in either the public-disclosure condition or the questionnaire

condition has that effect. To begin with, Byrne JAG grantees voluntarily consent to award

conditions in return for receiving federal funds. Thus, this is a voluntary program. If grantees are

unhappy with the conditions, they are free to decline the award and thus avoid any obligation to

comply with its conditions. Additionally, requiring modest cooperation with federal law enforce-

ment in exchange for federal law enforcement funds does not constitute exercising “direction,

supervision, or control.” Rather, the conditions challenged here only enhance coordination among

federal, state, and local law enforcement officers, which Congress expressly encourages. For

example, concurrent with the enactment of 34 U.S.C. § 10228, Congress created the National

Institute of Justice (a component of OJP), see An Act to Restructure the Federal Law Enforcement

Assistance Administration, Pub. L. No. 96-157, §§ 202, 815, 93 Stat. 1167, 1172, 1206 (1979), which

has as one of its express statutory purposes “to develop programs and projects . . . to improve and

expand cooperation among the Federal Government, States, and units of local government . . . .” 34

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U.S.C. § 10122(c)(2)(F).

           Plaintiffs’ assertion that these conditions constitute prohibited “direction, supervision, and

control” is also belied by their acceptance of numerous other Byrne JAG conditions. Plaintiffs’

Byrne JAG award for FY 2016, which they accepted without challenge, imposed over fifty “special

conditions.” See State Case, Dkt. No. 91, Ex. A (New York City’s FY 2016 Byrne JAG award

containing 53 Special Conditions); State Case, Dkt. No. 91, Ex. B (New York State’s FY 2016 Byrne

JAG award containing 54 Special Conditions). The Plaintiffs agreed, for example, to require that

certain law enforcement officers wear body armor, see id., Ex. A ¶ 39; refrain from certain specific

actions related to human trafficking, including any “[a]cts that directly support or advance trafficking

in persons,” see id., Ex. A ¶ 9; to comply with DOJ regulations on civil rights and non-

discrimination, including regulations prohibiting specific forms of discrimination on the basis of

religion, see id., Ex. A ¶ 16; to refrain from requiring employees to sign any “internal confidentiality

agreement or statement that prohibits or otherwise restricts, or purports to prohibit or restrict, the

reporting (in accordance with law) of waste, fraud, or abuse,” see id., Ex. A ¶ 20; and to participate in

“training events, technical assistance events, or conferences” sponsored by OJPJ’s Bureau of Justice

Assistance, see id., Ex. A ¶ 33. If those conditions do not constitute exercising “direction,

supervision, and control” over grantees – as shown by Plaintiffs’ own agreement to them – then

neither do the immigration-related conditions challenged here.

    III.       The FY 18 Conditions do not violate the Spending Clause.

           Count Nine of the City’s First Amended Complaint contends that the challenged Byrne JAG

conditions violate the Spending Clause. First Am. Compl. ¶¶ 165-69. Under its spending authority,

Congress “may offer funds to the States, and may condition those offers on compliance with

specified conditions.” Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 537 (2012) (“NFIB”). It is

well-established that the Spending Clause confers broad authority, such that conditions imposed
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pursuant to this authority may permissibly require States to “tak[e] certain actions that Congress

could not [otherwise] require them to take.” Coll. Sav. Bank v. Fla. Prepaid Postsecondary Educ. Expense

Bd., 527 U.S. 666, 686 (1999). Nevertheless, the spending authority is subject to certain discrete

limitations, two of which are purportedly at issue here: (1) “conditions on federal grants may be

illegitimate if they are unrelated to the federal interest in particular national projects or programs”;

and (2) conditions must be “unambiguous[].” South Dakota v. Dole, 483 U.S. 203, 207 (1987). As set

forth below, both the FY 18 Conditions easily satisfy each of these requirements.

                    A.        The FY 18 Conditions are related to the purposes of the Byrne JAG
                              Program.

         Initially, it is well-established that the “relatedness” aspect of Dole does not pose a difficult

hurdle; to the contrary, this is a “low-threshold” inquiry that “is a far cry from . . . an exacting

standard for relatedness.” Mayweathers v. Newland, 314 F.3d 1062, 1067 (9th Cir. 2002); see New York v.

United States, 505 U.S. 144, 167 (1992) (stating that only “some relationship” is necessary between

spending conditions and “the purpose of the federal spending.”). As the D.C. Circuit has observed, the

Supreme Court has never “overturned Spending Clause legislation on relatedness grounds.” Barbour v.

Wash. Metro. Area Transit Auth., 374 F.3d 1161, 1168 (D.C. Cir. 2004).

         The FY 18 Conditions at issue here plainly satisfy this permissive requirement. The Byrne

JAG Program promotes “criminal justice” by supporting programs such as law enforcement,

prosecution, crime prevention, and corrections. 34 U.S.C. § 10152(a)(1). The term “criminal justice”

is defined broadly to include various activities of the police, the courts, and “related agencies.” Id. §

10251(a)(1). Further, immigration enforcement, which the conditions promote, undoubtedly

intersects with the Byrne JAG Program’s criminal justice purposes, at a minimum for the simple

reason that a conviction for any of a wide variety of criminal offenses renders an alien removable

from this country. See 8 U.S.C. § 1227(a)(2). Indeed, the term “criminal alien” appears multiple

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times in the INA, and “[a] primary goal of several recent overhauls of the INA has been to ensure

and expedite the removal of aliens convicted of serious crimes.” Duvall v. Att’y Gen. of U.S., 436 F.3d

382, 391 (3d Cir. 2006); 8 U.S.C. §§ 1226(c), 1228(a), 1231(a)(6), 1378; see Padilla v. Kentucky, 559 U.S.

356, 360 (2010) (observing that “deportation or removal is now virtually inevitable for a vast number

of noncitizens convicted of crimes”) (citation omitted). Once removed, a criminal alien who has

committed a removable offense – for example, an aggravated felony, domestic violence, child abuse,

or certain firearm offenses – is no longer present in this country with the potential to re-offend.

         Thus, the challenged conditions ensure that any “program or activity” funded by the Byrne

JAG Program does not thwart the federal government’s exercise of its ability to remove aliens not

lawfully present in the United States or removable due to a criminal conviction. See Koslow v.

Pennsylvania, 302 F.3d 161, 176 (3d Cir. 2002) (observing that the challenged condition “govern[ed]

only a ‘program or activity’ receiving federal funds,” and noting that this limitation aided in satisfying

“the ‘relatedness’ requirement articulated in Dole”). Declining to fund jurisdictions that disclose

federal law enforcement information in an attempt to hinder federal law enforcement is plainly

related to the criminal-justice purposes of the Byrne JAG Program.

                    B.        The FY 18 Conditions are unambiguous.

         Another limitation on the spending power is that when the Federal Government “desires to

condition the States’ receipt of federal funds, it must do so unambiguously, enabling the States to

exercise their choice knowingly, cognizant of the consequences of their participation.” Dole, 483 U.S.

at 207 (citation omitted). The FY 18 Conditions easily satisfy this requirement, especially in light of

the accompanying “Rules of Construction.” See, e.g., State Case, Dkt. No. 133, Ex 53, ¶ 44(4)(A) (New

York State’s FY 18 Byrne JAG Award Approval Letter and Special Conditions).

         The public-disclosure condition states very clearly that it prohibits the “public disclosure . . . of

federal law enforcement information in a direct or indirect attempt to conceal, harbor, or shield from
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detection any fugitive from justice under 18 U.S.C. ch. 49, or any alien who has come to, entered, or

remains in the United States in violation of 8 U.S.C. ch. 12 – without regard to whether such

disclosure would constitute (or could form a predicate for) a violation of 18 U.S.C. [§§] 1071 or 1072

or of 8 U.S.C. [§] 1324(a).” Id. at ¶ 44(1). The Rules of Construction, moreover, define “alien,”

“federal law enforcement information,” and “public disclosure” in detail. See id. at ¶ 44(4). Similarly,

the questionnaire condition in the Byrne JAG solicitation asks very clearly whether the recipient has

“any laws, policies, or practices related to whether, when, or how employees may communicate with

DHS or ICE” or is “subject to any [such] laws from a superior political entity (e.g., a state law that

binds a city).” AR1250-51 (FY 18 Byrne JAG State Solicitation).

          Finally, any arguable marginal uncertainty regarding the outer boundaries of these conditions

would not render them unconstitutionally ambiguous. Indeed, “the exact nature of [grant] conditions

may be largely indeterminate, provided that the existence of the conditions is clear, such that States

have notice that compliance with the conditions is required.” Charles v. Verhagen, 348 F.3d 601, 607

(7th Cir. 2003) (citation omitted); see also Benning v. Georgia, 391 F.3d 1299, 1306 (11th Cir. 2004)

(“Once Congress clearly signals its intent to attach federal conditions to Spending Clause legislation, it

need not specifically identify and proscribe in advance every conceivable state action that would be

improper.” (citation omitted)); Van Wyhe v. Reisch, 581 F.3d 639, 650 (8th Cir. 2009) (finding notice

requirement satisfied even where condition “provides a pliable standard”); Mayweathers, 314 F.3d at

1067 (finding notice requirement satisfied even where condition required compliance with a “standard

[that] is perhaps unpredictable because it has resulted in different determinations in different courts”).

    IV.       The FY 18 Conditions are rational under the Administrative Procedure Act.

          Plaintiffs assert that the FY 18 Conditions violate the Administrative Procedure Act. See

States’ Am. Compl., ¶¶ 158-171; City’s Am. Compl., ¶¶ 154-164; Pls.’ Memo., at 24-26 (arguing that

the additional conditions are “arbitrary and capricious”). These claims are without merit.
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         As an initial matter, if the challenged conditions are statutorily authorized and comport with

the Spending Clause – which, as shown above, they do – it is unclear how “arbitrary or capricious”

scrutiny could otherwise limit DOJ’s broad discretion.

         In any event, when the courts review an agency’s action under the “arbitrary or capricious”

standard, it is required to be highly deferential, and to presume the agency action is valid as long as it

is supported by a rational basis. “Under the ‘highly deferential’ arbitrary and capricious standard, the

‘question before a reviewing court . . . is whether the decision was based on a consideration of the

relevant factors and whether there has been a clear error of judgment.’” Wojciechowski v. Metro. Life

Ins. Co., 1 Fed. Appx. 77, 79 (2d Cir. 2001) (quoting Jordan v. Retirement Comm. of Rensselaer Polytechnic

Inst., 46 F.3d 1264, 1271 (2d Cir. 1995)). This standard of review is “narrow,” and does not

authorize a district court “to substitute its judgment for that of the agency.” Citizens to Preserve

Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971).

         Here, Plaintiffs’ claims fail because “the agency’s reasons for” imposing the challenged

conditions “were entirely rational.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 517 (2009).

Even assuming OJP’s imposition of the conditions were subject to arbitrary-and-capricious review

notwithstanding the absence of any statutory standards governing the choice of special conditions

and priority purposes, it is reasonable for OJP to deny federal law enforcement funding to a

jurisdiction that releases aliens whom the jurisdiction itself suspects of criminal conduct without

allowing federal officials to interrogate or apprehend those aliens. That judgment does not depend

on a factual determination of the sort that Plaintiffs appear to demand. It simply requires asking

whether OJP should blind itself to the degree of cooperation provided (or not provided) by localities

to federal law enforcement efforts when distributing federal law enforcement grants, as well as to

the public safety threats caused by that lack of cooperation. Thus, the challenged conditions are

“common-sense measures,” id., and “even in the absence of evidence, the agency’s predictive
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judgment (which merits deference) makes entire sense” as “an exercise in logic rather than

clairvoyance.” Fox Television, 556 U.S. at 521.

         In any event, the Administrative Record submitted by the Defendants further supports the

rationality of the conditions. Prompted partly by a DOJ Inspector General report describing

deteriorating local cooperation with “efforts to remove undocumented criminal aliens from the

United States,” AR00366, DOJ under the prior Administration instituted a requirement for FY 2016

Byrne JAG grantees to certify compliance with 8 U.S.C. § 1373 in order to protect the exchange of

information among federal, state, and local law enforcement. Id. at AR00392-97. For the FY 2017

grant cycle, the Department maintained that condition and added conditions similar to the interview

and custody conditions described above, to “increase[e] information sharing between federal, state,

and local law enforcement” so that “federal immigration authorities have the information they need

to enforce the law and keep our communities safe.” Id. at AR00993 (Backgrounder on Grant

Requirements). The FY 2018 conditions challenged here responded to further developments,

including, in relation to the public-disclosure condition, at least one instance in which an elected

local official publicly disclosed an impending federal law enforcement operation designed to

apprehend suspected illegal aliens. Id. at AR01038-39 (Tweet and Facebook post of Oakland,

California, Mayor Libby Schaaf announcing planned ICE enforcement operation).

          Finally, as discussed above in relation to the Spending Clause, immigration enforcement

undoubtedly relates to criminal justice. Numerous federal statutes expressly connect these two

subjects. The challenged conditions thus rationally promote interests in “maintain[ing] liaison”

among tiers of government “in matters relating to criminal justice,” 34 U.S.C. § 10102(a)(2), and

comport with the intergovernmental cooperation that Congress plainly contemplates in immigration

enforcement. See, e.g., 8 U.S.C. §§ 1226(d), 1357(g), 1373; Arizona, 567 U.S. at 411-12 (“Consultation


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between federal and state officials is an important feature of the immigration system” and Congress

“has encouraged the sharing of information about possible immigration violations.”).

         Accordingly, the challenged conditions are rational, and this Court should not “substitute its

judgment” for that of the Department of Justice. Citizens to Preserve Overton Park, Inc., 401 U.S. at

416.

    V.        If the Court grants an injunction, it should be limited to the current parties.

         Finally, the State Plaintiffs’ prayer for relief in their Amended Complaint seek a permanent

injunction against use of the challenged requirements in the Byrne JAG Program overall, without

regard to the identity of the applicant or grantee. See State Case, Am. Compl., at 42. The Plaintiffs,

however, seem to retreat from this request in their Memorandum, instead seeking an injunction

against Defendants imposing the FY 18 Conditions on them and their political subdivisions. See

Pls.’ Memo, at 31 (noting that the Court previously granted an injunction in favor of the Plaintiffs

and their political subdivisions regarding FY 17 conditions and stating that the “Court should do the

same with respect to the FY 2018 immigration-related conditions.”).

         To be crystal-clear, the Plaintiffs lack standing to seek such an injunction on behalf of any

non-parties in this case, other than their political subdivisions. As the Supreme Court has observed

many times, a plaintiff “must establish standing separately for each form of relief sought,” Town of

Chester v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650 (2017), and a “plaintiffs’ remedy must be limited to

the inadequacy that produced [its] injury in fact,” Gill v. Whitford, 138 S. Ct. 1916 (2018); see City of

Chicago v. Sessions, No. 17-2991, 2018 WL 4268817 (7th Cir. June 4, 2018) (vacating nationwide

aspect of injunction); accord California v. Azar, 911 F.3d 558, 582-84 (9th Cir. 2018) (reversing

nationwide preliminary injunction as abuse of discretion); City & Cty. of San Francisco v. Trump, 897

F.3d 1225, 1243-45 (9th Cir. 2018) (vacating and remanding nationwide injunction). Moreover, as

an equitable matter, nationwide injunctions “take a toll on the federal court system – preventing
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legal questions from percolating through the federal courts, encouraging forum shopping, and

making every case a national emergency for the courts and for the Executive Branch.” Trump v.

Hawaii, 138 S. Ct. 2392, 2425 (2018) (Thomas, J., concurring); see Virginia Soc’y for Human Life, Inc. v.

FEC, 263 F.3d 379, 393 (4th Cir. 2001) (noting tendency of nationwide injunctions to “thwart the

development of important questions of law by freezing the first final decision rendered on a

particular legal issue”).



                                                       CONCLUSION

         Accordingly, the Court should dismiss with prejudice Plaintiffs’ challenges to the FY 2018

public-disclosure condition, the information collection condition, and the certification requirement.



                                                                     Respectfully submitted,

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                                           CERTIFICATE OF SERVICE

      I certify that on April 12, 2019, I filed the foregoing document with the Clerk of Court via
the CM/ECF system, causing it to be served electronically on all counsel of record.

                                                                         /s/ Daniel D. Mauler                   .
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